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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


   Civil Action No. 1:18-cv-00337-WJM-KMT


   CHRISTOPHER P. SWEENEY and
   NIKOLE M. SWEENEY,

   Plaintiffs,

   v.

   CITY OF COLORADO SPRINGS, COLORADO,
   STETSON HILLS MASTER HOME OWNERS ASSOCIATION, INC., and
   DIVERSIFIED PROPERTY MANAGEMENT, LLC,

   Defendants.



                   ANSWER TO COMPLAINT AND JURY DEMAND (Doc. 1)


        Defendant City of Colorado Springs (“Defendant” or “City”) by and through the Office of

   the City Attorney, responds to the Plaintiffs’ Complaint & Jury Demand (Doc. 1) (“Complaint”)

   as follows:

                                          I. INTRODUCTION

           1.     In response to the allegations contained in paragraph 1 of the Complaint, the

   Defendant lacks sufficient knowledge or information to either admit or deny that Christopher P.

   Sweeney (“Mr. Sweeney”) is a disabled veteran wounded in the line of duty and, therefore,

   denies this allegation. The Defendant admits that Mr. Sweeney and Nikole M. Sweeney (“Ms.

   Sweeney”) (collectively “Plaintiffs”) currently reside at 6224 La Plata Peak Drive, Colorado

   Springs, Colorado. The Defendant lacks sufficient knowledge or information to either admit or

   deny that the Plaintiffs have resided at 6224 La Plata Peak Drive, Colorado Springs, Colorado
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   since March of 2014 and, therefore, denies this allegation. The Defendant denies any allegations

   contained in paragraph 1 that are not expressly admitted herein.

          2.      In response to the allegations contained in paragraph 2 of the Complaint, the

   Defendant admits that 6224 La Plata Peak Drive, Colorado Springs, Colorado is within the

   Stetson Hills Master Home Owners Association, Inc. The Defendant lacks sufficient knowledge

   or information to either admit or deny whether Diversified Property Management, LLC, manages

   the neighborhood that includes 6224 La Plata Peak Drive, Colorado Springs, Colorado and,

   therefore, denies this allegation. The Defendant lacks sufficient knowledge or information to

   either admit or deny whether the Plaintiffs realized there were a plethora of issues impacting

   accessibility for Mr. Sweeney, that Mr. Sweeney is largely bound to a wheelchair, and the

   remaining allegations contained in paragraph 2 of the Complaint and, therefore, denies those

   allegations.

          3.      The Defendant denies the allegations in paragraph 3 of the Complaint.

          4.      The Defendant denies the allegations in paragraph 4 of the Complaint.

          5.      In response to the allegations in paragraph 5 of the Complaint, the Defendant

   denies there are issues with the City’s curb ramps and denies the driveways in the Plaintiffs’

   neighborhood were not constructed in accordance with the Code of the City of Colorado Springs

   (“City Code”).     The Defendant admits vehicles park in driveways in the Plaintiffs’

   neighborhood and, at times, the vehicles extend over or onto the sidewalk. The Defendant denies

   any allegations contained in paragraph 5 that are not expressly admitted herein.

          6.      In response to the allegations in paragraph 6 of the Complaint, the Defendant

   denies that the situation was caused in any way by the Defendant.           The Defendant lacks

   sufficient knowledge or information to either admit or deny the allegation that the situation has



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   been significantly exacerbated by the decision of the Stetson Hills Master Home Owners

   Association, Inc. and Diversified Property Management, LLC (collectively the “HOA”), to

   enforce covenants that prohibit certain street-side parking and encourage HOA members to park

   in their driveways and any remaining allegations in paragraph 6 and, therefore, denies these

   allegations.

          7.      The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 7 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          8.      The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 8 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          9.      The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 9 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          10.     In response to the allegations in paragraph 10 of the Complaint, the Defendant

   admits that the Plaintiffs sought the Defendant’s assistance, requested that the Defendant provide

   assistance by ensuring that the sidewalks remain accessible to individuals with mobility

   disabilities, and requested enforcement of specific City Code ordinances. The Defendant denies

   any allegations contained in paragraph 10 that are not expressly admitted herein.

          11.     The Defendant denies the allegations in paragraph 11 of the Complaint.

          12.     In response to the allegations in paragraph 12 of the Complaint, the Defendant

   denies that the actions of the Defendant have prevented Mr. Sweeney from accessing much of

   the City including, but not limited to, a host of different public accommodations. The Defendant



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   lacks sufficient knowledge or information to either admit or deny the HOA’s actions and any

   remaining allegations contained in paragraph 12 of the Complaint and, therefore, denies these

   allegations.

          13.     In response to the allegations in paragraph 13 of the Complaint, the Defendant

   admits that Congress enacted the Americans with Disabilities Act of 1990, as amended. The

   Defendant states that the Americans with Disabilities Act speaks for itself. The Defendant

   denies any allegations contained in paragraph 13 that are not expressly admitted herein.

          14.     In response to the allegations in paragraph 14 of the Complaint, the Defendant

   admits the Plaintiffs assert claims under the Americans with Disabilities Act, the Rehabilitation

   Act of 1973, and the Fair Housing Act. The Defendant denies it has violated any of these Acts

   and denies any remaining allegations contained in paragraph 14.

                                  II. JURISDICTION AND VENUE


          15.     In response to the allegations in paragraph 15 of the Complaint, the Defendant

   admits the Plaintiffs assert claims under the Americans with Disabilities Act, the Rehabilitation

   Act of 1973, and the Fair Housing Act.

          16.     In response to the allegations in paragraph 16 of the Complaint, the Defendant

   states that 28 U.S.C. § 1331 speaks for itself. The Defendant admits that the Court has subject

   matter jurisdiction over federal claims if there is a cognizable legal basis for the claims. The

   Defendant denies any remaining allegations contained in paragraph 16.

          17.     In response to the allegations in paragraph 17 of the Complaint, the Defendant

   states that 42 U.S.C. § 12205 and 42 U.S.C. § 3613(c)(2) speak for themselves. The Defendant

   denies the Plaintiffs are entitled to attorneys’ fees and costs and denies any remaining allegations

   contained in paragraph 17.


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          18.     The Defendant admits the allegations contained in paragraph 18 of the Complaint.

                                            III. PARTIES

          19.     The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 19 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          20.     The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 20 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          21.     In response to the allegations in paragraph 21 of the Complaint, the Defendant

   admits that the City is a home rule municipality within the state of Colorado. The Defendant

   denies that the City is solely or always responsible for constructing, maintaining, repairing, and

   regulating its sidewalks and curb ramps. The Defendant admits that the City enforces the City

   Code. The Defendant denies any allegations contained in paragraph 21 that are not expressly

   admitted herein.

          22.     The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 22 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          23.     The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 23 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

                                  IV. FACTUAL BACKGROUND

   “The Curb Ramps in Mr. Sweeney’s Neighborhood Are Not In Compliance with Federal Law”
   (Doc. 1 at 4).




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             The Defendant denies the allegations in the heading of section IV of the Complaint which

   states that the curb ramps in Mr. Sweeney’s neighborhood are not in compliance with federal

   law.

             24.    In response to the allegations in paragraph 24 of the Complaint, the Defendant

   admits that the Plaintiffs currently reside at 6224 La Plata Peak Drive, Colorado Springs,

   Colorado, which is within the Stetson Hills Master Home Owners Association. The Defendant

   lacks sufficient knowledge or information to either admit or deny that the Plaintiffs have resided

   at 6224 La Plata Peak Drive, Colorado Springs, Colorado since March 22, 2014 and, therefore,

   denies this allegation. The Defendant lacks sufficient knowledge or information to either admit

   or deny that Diversified Property Management, LLC, manages the neighborhood that includes

   6224 La Plata Peak Drive, Colorado Springs, Colorado, and, therefore, denies this allegation.

   The Defendant denies any allegations contained in paragraph 24 that are not expressly admitted

   herein.

             25.    The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 25 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

             26.    The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 26 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

   “Picture of defective curb ramp located at the corner of Vallecito Drive and La Plata Peak
   Drive, Colorado Springs, Colorado” (Doc. 1 at 5).

             The Defendant lacks sufficient knowledge or information to either admit or deny the

   authenticity of the photo labeled picture of defective curb ramp located at the corner of Vallecito




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   Drive and La Plata Peak Drive, Colorado Springs, Colorado, in section IV of the Complaint, and,

   therefore, denies the authenticity of the picture and denies the content of the label.

   “Picture of curb ramp only installed on one side of the street, located at the corner of Vermillion
   Bluffs Drive and Elk Head Drive, Colorado Springs, Colorado” (Doc. 1 at 6).

          The Defendant lacks sufficient knowledge or information to either admit or deny the

   authenticity of the photo labeled picture of curb ramp only installed on one side of the street,

   located at the corner of Vermillion Bluffs Drive and Elk Head Drive, Colorado Springs,

   Colorado, in section IV of the Complaint, and, therefore, denies the authenticity of the picture

   and denies the content of the label.

          27.     In response to the allegations in paragraph 27 of the Complaint, the Defendant

   admits the neighborhood and its sidewalks and curb ramps within the Ridgeview at Stetson Hills

   Filing No. 10 Development Plan, which includes 6224 La Plata Peak Drive, Colorado Springs,

   Colorado, were built after 1996. The Defendant denies any allegations contained in paragraph

   27 that are not expressly admitted herein.

          28.     The Defendant denies the allegations in paragraph 28 of the Complaint.

          29.     The Defendant denies the allegations in paragraph 29 of the Complaint.

          30.     The Defendant denies the allegations in paragraph 30 of the Complaint.

   “Mr. Sweeney Is Denied Meaningful Access to the City’s Bus Stops” (Doc. 1 at 7).

          The Defendant denies the allegation in the heading of section IV of the Complaint, which

   states that Mr. Sweeney is denied meaningful access to the City’s bus stops.

          31.     The Defendant denies the allegations in paragraph 31 of the Complaint.

   “Picture of inaccessible bus stop located at the corner of Constitution Avenue and Tutt
   Boulevard, Colorado Springs, Colorado” (Doc. 1 at 7).

          The Defendant lacks sufficient knowledge or information to either admit or deny the

   authenticity the photo labeled picture of inaccessible bus stop located at the corner of
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   Constitution Avenue and Tutt Boulevard, Colorado Springs, Colorado and, therefore, denies the

   authenticity of the picture and denies the content of the label.

          32.     The Defendant admits the allegations in paragraph 32 of the Complaint.

          33.     The Defendant denies the allegations in paragraph 33 of the Complaint.

          34.     The Defendant denies the allegations in paragraph 34 of the Complaint.

   “The sidewalks in Mr. Sweeney’s Neighborhood Are Not Accessible to Individuals with Mobility
   Disabilities” (Doc. 1 at 8).

          The Defendant denies the allegations in the heading of section IV of the Complaint,

   which states that the sidewalks in Mr. Sweeney’s neighborhood are not accessible to individuals

   with mobility disabilities.

          35.     In response to the allegations in paragraph 35 of the Complaint, the Defendant

   denies that the City’s curb ramps are inaccessible. The Defendant lacks sufficient knowledge or

   information to either admit or deny allegations relating to Mr. Sweeney’s mobility and the

   impact of vehicles blocking the sidewalks and, therefore, denies those allegations.          The

   Defendant denies any remaining allegations contained in paragraph 35.

   “Picture of obstructed sidewalk, located at Vallecito Drive between La Plata Peak Drive and
   Grand Mesa Drive, Colorado Springs, Colorado” (Doc. 1 at 8).

          The Defendant lacks sufficient knowledge or information to either admit or deny the

   authenticity of the photo labeled picture of obstructed sidewalk, located at Vallecito Drive

   between La Plata Peak Drive and Grand Mesa Drive, Colorado Springs, Colorado and, therefore,

   denies the authenticity of the picture and denies the content of the label.

          36.     In response to the allegations in paragraph 36 of the Complaint, the Defendant

   admits that certain homes in the Ridgeview at Stetson Hills Filing No. 10 Development Plan,

   Colorado Springs, Colorado, were constructed with setbacks inclusive of the sidewalk

   easements. The Defendant admits vehicles park in driveways in the Plaintiffs’ neighborhood

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   and, at times, the vehicles extend over or onto the sidewalk. The Defendant denies any

   allegations contained in paragraph 36 that are not expressly admitted herein.

          37.     The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 37 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

   “Mr. Sweeney’s Request for a Reasonable Accommodation Was Denied By the HOA” (Doc. 1 at
   9).
         The Defendant lacks sufficient knowledge or information to either admit or deny the

   allegations in the heading of section IV of the Complaint, which states that Mr. Sweeney’s

   request for a reasonable accommodation was denied by the HOA and, therefore, denies the

   allegations.

          38.     The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 38 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          39.     The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 39 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          40.     The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 40 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          41.     The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 41 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.




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          42.     The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 42 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          43.     The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 43 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          44.     The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 44 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          45.     The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 45 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

   “With the HOA Board Unwilling to Accommodate His Disability, Mr. Sweeney Sought to Enlist
   the Assistance of the City” (Doc. 1 at 10).

          In response to the allegations in the heading in section IV of the Complaint, which states

   the HOA Board was unwilling to accommodate Mr. Sweeney’s disability and that Mr. Sweeney

   sought to enlist the assistance of the City, the Defendant admits Mr. Sweeney sought the

   assistance of the City. The Defendant lacks sufficient knowledge or information to either admit

   or deny the allegation that the HOA board was unwilling to accommodate Mr. Sweeney’s

   disability and, therefore, denies the allegation. The Defendant denies any allegations contained

   in this heading that are not expressly admitted herein.

          46.     The Defendant lacks sufficient knowledge or information to either admit or deny

   whether there were unsuccessful attempts to work with the HOA, and, therefore, denies this

   allegation. The Defendant admits that Mr. Sweeney contacted the City for assistance. The


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   Defendant denies any allegations contained in paragraph 46 that are not expressly admitted

   herein.

             47.   The Defendant denies the allegations in paragraph 47 of the Complaint.

             48.   In response to the allegations in paragraph 48 of the Complaint, the Defendant

   admits that on November 19, 2015, Ms. Sweeney submitted a Citizen’s Request Form to the

   City. The Defendant states that the Citizen’s Request Form speaks for itself. The Defendant

   lacks sufficient knowledge or information to either admit or deny that there were numerous

   attempts to contact the City and, therefore, denies this allegation. The Defendant denies any

   allegations contained in paragraph 48 that are not expressly admitted herein.

             49.   In response to the allegations in paragraph 49 of the Complaint, the Defendant

   states that the Citizen’s Request Form speaks for itself. The Defendant denies any allegations

   contained in paragraph 49 that are not expressly admitted herein.

             50.   In response to the allegations in paragraph 50 of the Complaint, the Defendant

   states that the Citizen’s Request Form and Victoria McColm’s (“Ms. McColm”) written response

   speak for themselves. The Defendant denies any allegations contained in paragraph 50 that are

   not expressly admitted herein.

             51.   In response to the allegations in paragraph 51 of the Complaint, the Defendant

   denies a haphazard or inaccurate investigation was conducted by Ms. McColm or the City and

   denies that Ms. McColm or the City failed to properly investigate Ms. Sweeney’s Citizen

   Request. The Defendant lacks sufficient knowledge or information to either admit or deny the

   allegation that Mr. Sweeney contacted Land Use Inspector Dennis Wolf (“Mr. Wolf”) and,

   therefore, denies this allegation. The Defendant denies any remaining allegations contained in

   paragraph 51.



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           52.     The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 52 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

           53.     In response to the allegations in paragraph 53 of the Complaint, the Defendant

   admits that the City sent a letter to residents in the Plaintiffs’ neighborhood and states that the

   letter speaks for itself. The Defendant denies any allegations contained in paragraph 53 that are

   not expressly admitted herein.

           54.     In response to the allegations in paragraph 54 of the Complaint, the Defendant

   admits the City’s ADA Title II Coordinator, Michael Killebrew (“Mr. Killebrew”), sent the

   Plaintiffs a letter. The Defendant lacks sufficient knowledge or information to either admit or

   deny whether the letter was sent approximately two months after Mr. Wolf’s alleged visit to the

   Plaintiffs’ neighborhood and, therefore, denies the allegation. The Defendant denies any

   allegations contained in paragraph 54 that are not expressly admitted herein.

           55.     In response to the allegations in paragraph 55 of the Complaint, the Defendant

   states that Mr. Killebrew’s letter speaks for itself.       The Defendant denies any remaining

   allegations contained in paragraph 55.

           56.     In response to the allegations in paragraph 56 of the Complaint, the Defendant

   states that Mr. Killebrew’s letter speaks for itself.   The Defendant lacks sufficient knowledge or

   information to either admit or deny when the Plaintiffs received the letter from Mr. Killebrew

   and, therefore, denies the allegation.       The Defendant denies any allegations contained in

   paragraph 56 that are not expressly admitted herein.




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          57.        In response to the allegations in paragraph 57 of the Complaint, the Defendant

   states that Mr. Killebrew’s letter speaks for itself.     The Defendant denies any remaining

   allegations contained in paragraph 57.

   “In August of 2016, the Sweeney’s Learned that HOA Board President Van Winkle Had Been
   Making Disparaging Comments About Mr. Sweeney’s Disability to Other Members of the HOA”
   (Doc. 1 at 12).

          The Defendant lacks sufficient knowledge or information to either admit or deny the

   allegations in the heading of section IV of the Complaint, which states that in August of 2016,

   the Plaintiffs learned the HOA Board President Van Winkle had been making disparaging

   comments about Mr. Sweeney’s disability to other members of the HOA and, therefore, denies

   the allegation.

          58.        The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 58 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          59.        The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 59 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          60.        The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 60 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          61.        The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 61 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.




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          62.     The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 62 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          63.     The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 63 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          64.     The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 64 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          65.     The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 65 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          66.     The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 66 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          67.     The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 67 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          68.     The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 68 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

   “The City Informed the Sweeneys That It Would Not Devote Any Additional Resources to
   Tackling the Sidewalk Obstruction Issue” (Doc. 1 at 13).




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             The Defendant denies the allegations in the heading of section IV of the Complaint,

   which states the City informed the Plaintiffs that it would not devote any additional resources to

   tackling the sidewalk obstruction issue.

             69.   In response to the allegations contained in paragraph 69 of the Complaint, the

   Defendant lacks sufficient knowledge or information to either admit or deny that the HOA

   decided to resume enforcement of the street-side parking covenants and, therefore, denies the

   allegation. The Defendant admits that Mr. Sweeney communicated with the City Attorney’s

   Office. The Defendant lacks sufficient knowledge or information to either admit or deny that

   Mr. Sweeney hoped the Defendant would take action to address the sidewalk obstruction issue

   and, therefore, denies the allegation.     The Defendant denies any allegations contained in

   paragraph 69 that are not expressly admitted herein.

             70.   The Defendant denies the allegations in paragraph 70 of the Complaint.

             71.   In response to the allegations contained in paragraph 71 of the Complaint, the

   Defendant admits Mr. Sweeney had verbal and email contact with Officer MJ Thomson

   (“Officer Thomson”) about parking in Mr. Sweeney’s neighborhood and admits that members of

   the City Attorney’s Office provided Mr. Sweeney with Officer Thomson’s contact information.

   The Defendant denies any allegations contained in paragraph 71 that are not expressly admitted

   herein.

             72.   The Defendant denies the allegations in paragraph 72 of the Complaint.

             73.   The Defendant denies the allegations in paragraph 73 of the Complaint.

             74.   The Defendant denies the allegations in paragraph 74 of the Complaint.

                                     V. CLAIMS FOR RELIEF

                                           FIRST CLAIM
                                       42 U.S.C. § 12101, et seq.

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             Title II of the Americans with Disabilities Act (Inaccessible Curb Ramps)
           Christopher P. Sweeney Against Defendant City of Colorado Springs, Colorado

          75.     In response to the allegations contained in paragraph 75 of the Complaint, the

   Defendant incorporates by reference all of its preceding responses, including paragraphs 1

   through 74.

          76.     In response to the allegations in paragraph 76 of the Complaint, the Defendant

   states that 42 U.S.C. § 12132 speaks for itself. The Defendant denies any remaining allegations

   contained in paragraph 76.

          77.     In response to the allegations in paragraph 77 of the Complaint, the Defendant

   states that 28 C.F.R. § 35.150 and 28 C.F.R. §§ 35.133, and 35.104 speak for themselves. The

   Defendant denies any remaining allegations contained in paragraph 77.

          78.     In response to the allegations in paragraph 78 of the Complaint, the Defendant

   states that 28 C.F.R. § 35.151, the Uniform Federal Accessibility Standards, and the Americans

   with Disabilities Act Guidelines for Buildings and Facilities speak for themselves.           The

   Defendant denies any remaining allegations contained in paragraph 78.

          79.     The Defendant admits the allegations in paragraph 79 of the Complaint.

          80.     The Defendant denies the allegations in paragraph 80 of the Complaint.

          81.     The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 81 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          82.     The Defendant denies the allegations in paragraph 82 of the Complaint.

          83.     The Defendant denies the allegations in paragraph 83 of the Complaint.

          84.     In response to the allegations in paragraph 84 of the Complaint, the Defendant

   admits that the City has constructed, altered, or repaired certain sidewalks and curb ramps within


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   the Ridgeview at Stetson Hills Filing No. 10 Development Plan, Colorado Springs, Colorado.

   The Defendant denies any allegations contained in paragraph 84 that are not expressly admitted

   herein.

             85.   The Defendant denies the allegations in paragraph 85 of the Complaint.

             86.   The Defendant denies the allegations in paragraph 86 of the Complaint.

             87.   The Defendant denies the allegations in paragraph 87 of the Complaint.

                                             SECOND CLAIM
                                          42 U.S.C. § 12101, et seq.
                   Title II of the Americans with Disabilities Act (Obstructed Sidewalks)
              Christopher P. Sweeney Against Defendant City of Colorado Springs, Colorado

             88.   In response to the allegations contained in paragraph 88 of the Complaint, the

   Defendant incorporates by reference all of its preceding responses, including its responses to

   paragraphs 1 through 87.

             89.   In response to the allegations in paragraph 89 of the Complaint, the Defendant

   states that 42 U.S.C. § 12132 speaks for itself. The Defendant denies any remaining allegations

   contained in paragraph 89.

             90.   In response to the allegations in paragraph 90 of the Complaint, the Defendant

   states that 28 C.F.R. § 35.150 and 28 C.F.R. §§ 35.133, and 35.104 speak for themselves. The

   Defendant denies any remaining allegations contained in paragraph 90.

             91.   The Defendant admits the allegations in paragraph 91 of the Complaint.

             92.   The Defendant denies the allegations contained in paragraph 92 of the Complaint.

             93.   The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 93 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

             94.   The Defendant denies the allegations in paragraph 94 of the Complaint.


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          95.     The Defendant denies the allegations in paragraph 95 of the Complaint.

          96.     The Defendant denies the allegations in paragraph 96 of the Complaint.

          97.     In response to the allegations in paragraph 97 of the Complaint, the Defendant

   admits that the City has the authority to enforce City ordinances.         Defendant denies any

   allegations contained in paragraph 97 that are not expressly admitted herein.

          98.     The Defendant denies the allegations in paragraph 98 of the Complaint.

          99.     The Defendant denies the allegations in paragraph 99 of the Complaint.

                                          THIRD CLAIM
                                      42 U.S.C. § 12101, et seq.
               Title II of the Americans with Disabilities Act (Inaccessible Bus Stops)
           Christopher P. Sweeney Against Defendant City of Colorado Springs, Colorado

          100.    In response to the allegations contained in paragraph 100 of the Complaint, the

   Defendant incorporates by reference all of its preceding responses, including its responses to

   paragraphs 1 through 99.

          101.    In response to the allegations in paragraph 101 of the Complaint, the Defendant

   states that 42 U.S.C. § 12132 speaks for itself. The Defendant denies any remaining allegations

   contained in paragraph 101.

          102.    In response to the allegations in paragraph 102 of the Complaint, the Defendant

   states that 28 C.F.R. § 35.150 and 28 C.F.R. §§ 35.133, and 35.104 speak for themselves. The

   Defendant denies any remaining allegations contained in paragraph 102.

          103.    In response to the allegations in paragraph 103 of the Complaint, the Defendant

   states that 28 C.F.R. § 35.151, the Uniform Federal Accessibility Standards, and the Americans

   with Disabilities Act Guidelines for Buildings and Facilities speak for themselves.        The

   Defendant denies any remaining allegations contained in paragraph 103.

          104.    The Defendant admits the allegations in paragraph 104 of the Complaint.


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          105.    The Defendant admits the allegations in paragraph 105 of the Complaint.

          106.    The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 106 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          107.    The Defendant denies the allegations in paragraph 107 of the Complaint.

          108.    The Defendant denies the allegations in paragraph 108 of the Complaint.

          109.    The Defendant denies the allegations in paragraph 109 of the Complaint.

                                        FOURTH CLAIM
                                           29 U.S.C. § 701
              Section 504 of the Rehabilitation Act of 1973 (Inaccessible Curb Ramps)
           Christopher P. Sweeney Against Defendant City of Colorado Springs, Colorado

          110.    In response to the allegations contained in paragraph 110 of the Complaint, the

   Defendant incorporates by reference all of its preceding responses, including its responses to

   paragraphs 1 through 109.

          111.    In response to the allegations in paragraph 111 of the Complaint, the Defendant

   states that 29 U.S.C. § 794 speaks for itself. The Defendant denies any remaining allegations

   contained in paragraph 111.

          112.    The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 112 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          113.    The Defendant admits the allegations in paragraph 113 of the Complaint.

          114.    The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 114 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          115.    The Defendant denies the allegations in paragraph 115 of the Complaint.


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          116.    In response to the allegations in paragraph 116 of the Complaint, the Defendant

   states that Section 504 of the Rehabilitation Act speaks for itself. The Defendant denies any

   remaining allegations contained in paragraph 116.

          117.    The Defendant denies the allegations in paragraph 117 of the Complaint.

          118.    The Defendant denies the allegations in paragraph 118 of the Complaint.

          119.    The Defendant denies the allegations in paragraph 119 of the Complaint.

                                          FIFTH CLAIM
                                          29 U.S.C. § 701
                Section 504 of the Rehabilitation Act of 1973 (Obstructed Sidewalks)
           Christopher P. Sweeney Against Defendant City of Colorado Springs, Colorado

          120.    In response to the allegations contained in paragraph 120 of the Complaint, the

   Defendant incorporates by reference all of its preceding responses, including its responses to

   paragraphs 1 through 119.

          121.    In response to the allegations in paragraph 121 of the Complaint, the Defendant

   states that 29 U.S.C. § 794 speaks for itself. The Defendant denies any remaining allegations

   contained in paragraph 121.

          122.    The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 122 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          123.    The Defendant admits the allegations in paragraph 123 of the Complaint.

          124.    The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 124 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          125.    The Defendant denies the allegations in paragraph 125 of the Complaint.

          126.    The Defendant denies the allegations in paragraph 126 of the Complaint.


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          127.    The Defendant denies the allegations in paragraph 127 of the Complaint.

          128.    In response to the allegations in paragraph 128 of the Complaint, the Defendant

   admits that the City has the authority to enforce City ordinances. The Defendant denies any

   allegations contained in paragraph 128 that are not expressly admitted herein.

          129.    The Defendant denies the allegations in paragraph 129 of the Complaint.

          130.    The Defendant denies the allegations in paragraph 130 of the Complaint.

                                         SIXTH CLAIM
                                          29 U.S.C. § 701
               Section 504 of the Rehabilitation Act of 1973 (Inaccessible Bus Stops)
           Christopher P. Sweeney Against Defendant City of Colorado Springs, Colorado

          131.    In response to the allegations contained in paragraph 131 of the Complaint, the

   Defendant incorporates by reference all of its preceding responses, including its responses to

   paragraphs 1 through 130.

          132.    In response to the allegations in paragraph 132 of the Complaint, the Defendant

   states that 29 U.S.C. § 794 speaks for itself. The Defendant denies any remaining allegations

   contained in paragraph 132.

          133.    The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 133 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          134.    The Defendant admits the allegations in paragraph 134 of the Complaint.

          135.    The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 135 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          136.    The Defendant denies the allegations in paragraph 136 of the Complaint.




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          137.    In response to the allegations in paragraph 137 of the Complaint, the Defendant

   states that Section 504 of the Rehabilitation Act speaks for itself. The Defendant denies any

   remaining allegations contained in paragraph 137.

          138.    The Defendant denies the allegations in paragraph 138 of the Complaint.

          139.    The Defendant denies the allegations in paragraph 139 of the Complaint.

          140.    The Defendant denies the allegations in paragraph 140 of the Complaint.

                                           SEVENTH CLAIM
                                         42 U.S.C. § 3601, et seq.
                               Fair Housing Act (Failure to Accommodate)
      All Plaintiffs Against Stetson Hills Master Home Owners Association, Inc., and Diversified
                                      Property Management, LLC

          141.    In response to the allegations contained in paragraph 141 of the Complaint, the

   Defendant incorporates by reference all of its preceding responses, including its responses to

   paragraphs 1 through 140.

          142.    In response to the allegations in paragraph 142 of the Complaint, the Defendant

   states that 42 U.S.C. § 3601, et seq. speaks for itself. The Defendant denies any remaining

   allegations contained in paragraph 142.

          143.    In response to the allegations in paragraph 143 of the Complaint, the Defendant

   states that the Fair Housing Act speaks for itself.      The Defendant denies any remaining

   allegations contained in paragraph 143.

          144.    The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 144 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          145.    In response to the allegations in paragraph 145 of the Complaint, the Defendant

   states that 42 U.S.C. § 3602(i) speaks for itself. The Defendant denies any remaining allegations

   contained in paragraph 145.
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          146.    The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 146 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          147.    The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 147 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          148.    The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 148 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          149.    The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 149 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          150.    The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 150 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          151.    The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 151 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

          152.    The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 152 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.




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           153.    The Defendant lacks sufficient knowledge or information to either admit or deny

   the allegations contained in paragraph 153 of the Complaint and, therefore, denies the allegations

   contained in that paragraph.

                                        ANSWER TO PRAYER


           154.    In response to the allegations contained in paragraphs A through H in the

   Complaint, it is admitted that the Plaintiffs seek damages and other relief. The Defendant denies

   that the Plaintiffs are entitled to damages or that the Defendant is liable for the same.

                                          GENERAL DENIAL

           The Defendant denies generally each and every allegation contained in the Complaint to

   the extent not specifically admitted herein.

                                               DEFENSES

           1.      The Complaint, in whole or in part, fails to state a claim upon which relief may be

   granted.

           2.      All or a portion of the Plaintiffs’ claims/requests are not readily achievable and/or

   impose an undue burden on the Defendant.

           3.      Some or all of the claims alleged by the Plaintiffs are barred by the applicable

   statute of limitations.

           4.      All or a portion of the curb ramps, sidewalks, and/or bus stops the Plaintiffs

   complain of were constructed or altered prior to the enactment of the Americans with Disabilities

   Act and/or the Rehabilitation Act, and, thus, are exempted from compliance.

           5.      All or a portion of the Plaintiffs’ claims/requests are technically infeasible or

   structurally impracticable.




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           6.      The City’s programs, services, and activities and existing facilities are accessible

   when viewed in their entirety.

           7.      The City’s sidewalks and curbs are not a service, program, or activity.

           8.      All or a portion of the claims/requests of the Plaintiffs would require a

   fundamental alteration of the City’s services, programs, and activities.

           9.      The City does not have an affirmative obligation to ensure complete accessibility.

           10.     The City affords persons with disabilities equally effective opportunity to

   participate in or benefit from its benefits, services, programs, or activities.

           11.     The injuries and damages alleged to have been sustained by the Plaintiffs, if any,

   were caused solely by reason of the Plaintiffs’ own acts and conduct and not by reason of any

   unlawful conduct of the Defendant.

           12.     The Plaintiffs may have failed to join indispensable parties, including the U.S.

   Department of Justice, without which complete relief cannot be afforded among the parties.

           13.     The Plaintiffs do not have standing to pursue some or all of their claims.

           14.     The Defendant did not act with unlawful motive, intent or design.

           15.     The Plaintiffs’ alleged damages, if any, are barred, reduced and/or limited

   pursuant to applicable limitations of awards, caps on recovery and setoffs permitted by law.

           16.     The Defendant’s conduct at all times was objectively reasonable.

           17.     The Defendant’s conduct at all times was in compliance with all applicable laws.

           18.     Some or all of the claims/requests of the Plaintiffs would constitute a threat to

   health and safety.

           19.     At all times, the Defendant acted in good faith with respect to its interpretation

   and understanding of the Americans with Disabilities Act and the Rehabilitation Act.



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           20.     The damages, if any, the Plaintiffs suffered were not proximately caused by any

   conduct or actions of the Defendant.

           21.     The proximate cause of the Plaintiffs’ alleged injuries and/or damages, if any,

   may have been the act or omission of a third party or parties over whom the Defendant is not

   legally responsible.

           22.     The damages sustained by the Plaintiffs, if any, were unforeseeable.

           23.     The Plaintiffs have failed to mitigate their damages, if any, as required by law.

           24.     All or some of the Plaintiffs’ claims/requests are moot.

           25.     The Defendant reserves the right to add additional defenses as discovery and the

   law disclose, and hereby requests leave of court to amend this Answer and Jury Demand, if

   necessary, at a later date.

                                            PRAYER FOR RELIEF

           WHEREFORE, having fully answered and responded to the allegations of the Plaintiffs’

   Complaint, the City hereby prays that:

           1.      The Plaintiffs’ claims be dismissed with prejudice in their entirety;

           2.      Each and every prayer for relief contained in the Complaint be denied;

           3.      Judgment be entered in favor of the Defendant;

           4.      All costs, including reasonable attorneys’ fees, be awarded to the Defendant and

   against the Plaintiffs pursuant to applicable law; and

           5.      The Defendant be granted such other and further relief as the Court may deem just

   and proper.

   DEFENDANT CITY OF COLORADO SPRINGS REQUESTS A TRIAL TO A JURY ON
   ALL CLAIMS SO TRIABLE.




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         Respectfully submitted this 8th day of March, 2018.

                                              OFFICE OF THE CITY ATTORNEY
                                              Wynetta P. Massey, City Attorney

                                              s/ Tracy Lessig
                                              Tracy Lessig, Division Chief
                                              Lindsay Rose, Senior Attorney
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                                              Attorneys for Defendant City of Colorado Springs




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                            CERTIFICATE OF SERVICE (CM/ECF)


           I hereby certify that on the 8th day of March, 2018, I electronically filed the foregoing
   ANSWER TO COMPLAINT AND JURY DEMAND (Doc. 1) with the Clerk of the Court
   using the CM/ECF system, which will send notification of such filing to the following:

   Julian G. G. Wolfson
   jwolfsonlaw@gmail.com

          I hereby certify that on the 8th day of March, 2018, I have emailed the foregoing to the
   following:

   Karen Wheeler
   Karen@wheelerwaters.com

   Jami Maul
   jami@wheelerwaters.com

   Chally Lagrave
   chally@wheelerwaters.com


                                               s/ Tracy Thompson
                                               Tracy Thompson
                                               Paralegal




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